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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA               *

            vs.                        *   CRIMINAL NO. MJG-11-0095

JOHN I. FRANKLIN, Jr., et al.          *

*      *          *          *         *         *          *         *        *

                         MEMORANDUM AND ORDER

     The Court has before it the Motion to Withdraw as Counsel

filed by Charles Curlett, Esquire [Document 164].                The Court

finds that neither a response nor a hearing is necessary.

     As stated on the record of proceedings held this date, it

is appropriate for Defendant Franklin to be represented by new

counsel on appeal.

     Accordingly:

           1. The Motion to Withdraw as Counsel filed by Charles
              Curlett, Esquire [Document 164] is GRANTED.

           2. However, Charles Curlett, Esquire and/or Ian Wallach,
              Esquire shall facilitate the timely filing of a
              Notice of Appeal after the entry of Judgment in the
              instant case.

           3. Upon the filing of said Notice of Appeal, Charles
              Curlett, Esquire and Ian Wallach, Esquire shall cease
              to be counsel for Defendant Franklin.

     SO ORDERED, this Friday, April 13, 2012.



                                                      /s/__________
                                                Marvin J. Garbis
                                           United States District Judge
